Case 8:19-cv-01257-JFW-PJW Document 39-1 Filed 09/04/19 Page 1 of 11 Page ID #:286




                         EXHIBIT A
Case 8:19-cv-01257-JFW-PJW Document 39-1 Filed 09/04/19 Page 2 of 11 Page ID #:287




   1
   2
   3
   4
   5
   6
   7
   8
                             UNITED STATES DISTRICT COURT
   9
             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  10
  11
  12   Bryce Abbink, individually and on             Case No. 8:19-cv-01257-JFW-PJW
       behalf of all others similarly situated,
  13                                                 [PROPOSED] STATEMENT OF
                                                     DECISION DENYING DEFENDANT
  14                              Plaintiff,
                                                     EXPERIAN INFORMATION
  15                                                 SOLUTIONS, INC.’S MOTION TO
       v.
                                                     DISMISS
  16
       Experian Information Solutions, Inc.,
  17                                                 Hon. John F. Walter
       an Ohio corporation, Lend Tech
  18   Loans, Inc., a California corporation,
                                                     Date: September 16, 2019
       and Unified Document Services, LLC,
  19                                                 Time: 1:30 p.m.
       a California Limited Liability
                                                     Judge: Hon. John F. Walter
  20   Company,
                                                     Courtroom: 7A
  21                                                 Complaint filed: June 21, 2019
                                  Defendants.
  22
  23
  24
  25
  26
  27
  28
       PROPOSED STATEMENT OF DECISION          -1-
       RE: MOTION TO DISMISS
Case 8:19-cv-01257-JFW-PJW Document 39-1 Filed 09/04/19 Page 3 of 11 Page ID #:288




   1   I.    Introduction
   2         On June 21, 2019, Plaintiff Bryce Abbink (“Plaintiff” or “Abbink”) filed the
   3   above-captioned complaint against Defendants Experian Information Solutions, Inc.
   4   (“Experian”), Lend Tech Loans, Inc. (“Lend Tech”), and Unified Document
   5   Services, LLC (“UDS”) on behalf of himself and classes of similarly situated
   6   individuals alleging that the defendants violated the Fair Credit Reporting Act
   7   (“FCRA”). With respect to Experian, Plaintiff alleges that the consumer reporting
   8   agency violated Sections 1681b and 1681e of the FCRA by failing to perform a
   9   reasonable investigation into Lend Tech’s supposed permissible purpose in obtaining
  10   consumer reports and by revealing Abbink’s and other consumers’ relationships to
  11   the U.S. Department of Education by disclosing their federal student loan debt.
  12         Before the Court is Experian’s Rule 12(b) Motion to Dismiss (“Motion”) for
  13   failure to state a claim upon which relief can be granted. For the following reasons,
  14   the Court DENIES the Motion.
  15   II.   Factual Background
  16         The following facts are taken from the Complaint: On January 21, 2019,
  17   Experian sold Plaintiff’s consumer report to Lend Tech absent any permissible
  18   purpose. (Compl. ¶ 27.) Experian is a consumer reporting agency (“CRA”) that
  19   aggregates the data of millions of consumers worldwide and then sells that
  20   information to various other companies. (Id. ¶ 5.)
  21         Lend Tech is a California corporation that claims to engage in the business of
  22   mortgage lending. (Compl. ¶ 24.) Lend Tech does not possess any license, however,
  23   to engage in mortgage lending in the State of California. (Id.) Further, Lend Tech
  24   does not offer consumers any form of credit or insurance at all. (Id. ¶ 28.)
  25   Nevertheless, in or around January 2019, Lend Tech submitted a request to Experian
  26   to obtain information contained in Plaintiff’s consumer report. (Id. ¶ 26.) Lend
  27   Tech’s stated purpose was that it planned on extending firm offers of credit to
  28   Plaintiff and others. (Id. ¶ 48.) In making the request, Lend Tech provided inaccurate
       PROPOSED STATEMENT OF DECISION        -2-
       RE: MOTION TO DISMISS
Case 8:19-cv-01257-JFW-PJW Document 39-1 Filed 09/04/19 Page 4 of 11 Page ID #:289




   1   information, including a nonworking telephone number and a business address that
   2   did not match the current address on its California business filing. (Id. ¶ 55.)
   3         Instead of denying the request or performing any further investigation, on
   4   January 21, 2019, Experian sold Plaintiff’s consumer report to Lend Tech. (Compl. ¶
   5   27.) In doing so, Experian demonstrated a failure to implement reasonable
   6   procedures to prevent the furnishing of consumer reports for impermissible purposes.
   7   (Id. ¶ 29.) Specifically, Experian failed to make a reasonable effort to verify Lend
   8   Tech’s identity or its supposed permissible purpose. (Id.) Instead, Experian simply
   9   accepted Lend Tech’s assertion that it had a permissible purpose for obtaining the
  10   consumer reports at face value and sold Plaintiff’s consumer report absent any
  11   adequate investigation. (Id. ¶¶ 7, 30.) Additionally, Experian accepted Lend Tech’s
  12   purported address and telephone number (both of which are incorrect) and published
  13   both pieces of misinformation on Plaintiff’s consumer report. (Id. ¶ 55.)
  14         In furnishing the reports, Experian also revealed the total sum of outstanding
  15   federal student loan debt held by Plaintiff and all of the alleged class members.
  16   (Compl. ¶ 65.) The sum of federal student loan debt directly identifies the
  17   relationship between Plaintiff and the U.S. Department of Education (“Dept. of
  18   Education”). (Id. ¶ 66.) Experian repeated this process and furnished Lend Tech with
  19   consumers’ student loan information on multiple occasions. (Id. ¶ 58.)
  20         Lend Tech, in turn, sold information contained in Plaintiff’s consumer report
  21   to UDS. (Compl. ¶ 31.) UDS then used this information to target, via direct mailings,
  22   Plaintiff and the alleged class members for the purpose of soliciting them to purchase
  23   its “fee-based application assistance” service. (Id. ¶ 32.) For a substantial fee, UDS
  24   offers to complete documents on behalf of consumers to consolidate their federal
  25   student loans—paperwork that can be easily completed for free via the Dept. of
  26   Education’s website. (Id.) UDS does not offer consumers any form of credit at all.
  27   (Id. ¶ 88.) The Dept. of Education warns consumers not to fall prey to the deceptive
  28   practices of companies like UDS. (Id. ¶¶ 32, 89.) Most critically, UDS utilized the
       PROPOSED STATEMENT OF DECISION        -3-
       RE: MOTION TO DISMISS
Case 8:19-cv-01257-JFW-PJW Document 39-1 Filed 09/04/19 Page 5 of 11 Page ID #:290




   1   private information that it obtained from Experian (via Lend Tech) to target Abbink
   2   and others with ads for its document preparation “service.” (Compl., Ex. A.) The
   3   mailer prominently featured Plaintiff’s total federal student loan debt, statements
   4   indicating that he may be eligible for consolidation of his federal student loans, and
   5   various other misleading statements. (Id.) Based upon these allegations, the Court
   6   finds as follows:
   7   III.   Legal Standard
   8          “To survive a motion to dismiss, a complaint must contain sufficient factual
   9   matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”
  10   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citation omitted). “A claim has facial
  11   plausibility when the plaintiff pleads factual content that allows the court to draw the
  12   reasonable inference that the defendant is liable for the misconduct alleged.” Id. “[A]
  13   complaint attacked by a Rule 12(b)(6) motion to dismiss does not need detailed
  14   factual allegations” but requires “more than labels and conclusions, and a formulaic
  15   recitation of the elements of a cause of action will not do.” Bell Atlantic Corp. v.
  16   Twombly, 550 U.S. 544, 555 (2008) (citations omitted).
  17   IV.    Discussion
  18          A.     Plaintiff pleads plausible violations of Sections 1681b and 1681e.
  19          In its Motion, Experian argues that Plaintiff fails to state a claim for a
  20   violation of Section 1681b by providing his consumer report to Lend Tech because
  21   it, Experian, had a reason to believe Lend Tech would use the report for a
  22   permissible purpose. (Def. Mot. at 5-7.) Experian also argues that the Complaint
  23   fails to allege that Experian did not maintain reasonable procedures under Section
  24   1681e(a). (Def. Mot. at 7-9.) In response, Plaintiff argues that he’s alleged that
  25   Experian relied solely on Lend Tech’s certification that it had a permissible purpose
  26   to request the report. According to Plaintiff, this was insufficient. Instead, Experian
  27   was required to make a reasonable effort to verify Lend Tech’s identity and stated
  28   purpose, which Experian failed to do as evidenced by its failure to confirm Lend
       PROPOSED STATEMENT OF DECISION          -4-
       RE: MOTION TO DISMISS
Case 8:19-cv-01257-JFW-PJW Document 39-1 Filed 09/04/19 Page 6 of 11 Page ID #:291




   1   Tech’s licensing status, address, and telephone number. (Pl. Mot. at 7-13.)
   2   According to Plaintiff, had Experian performed such a review it would have
   3   discovered that Lend Tech did not possess any permissible purpose.
   4         As explained below, these allegations state a claim under the FCRA.
   5                1.     The Complaint plausibly states a claim for a violation of 15
   6                       U.S.C. § 1681b.
   7         “Section 1681e [of the FCRA] requires more from a credit reporting agency
   8   than merely obtaining a subscriber’s general promise to obey the law.” Pintos v.
   9   Pacific Creditors Ass’n., 605 F.3d 665, 677 (9th Cir. 2010). Once a consumer
  10   reporting agency obtains a customer’s certification of a permissible purpose, “the
  11   reporting agency must make ‘a reasonable effort’ to verify the certifications and may
  12   not furnish reports if ‘reasonable grounds’ exist to believe that reports will be used
  13   impermissibly.” Id. (citing 15 U.S.C. § 1681e(a)). Under Section 1681e(a), “a
  14   subscriber’s certification cannot absolve the reporting agency of its independent
  15   obligation to verify the certification and determine that no reasonable grounds exist
  16   for suspecting impermissible use.” Id. Hence, the key question is whether the
  17   Complaint sets forth facts that, if proven true, would plausibly show that Experian
  18   fell short of its obligation to verify the certification and determine that no reasonable
  19   grounds existed to suspect Lend Tech’s impermissible use.
  20         The Complaint sets forth such facts here. Abbink’s Complaint alleges that
  21   Experian accepted Lend Tech’s certification that it would utilize Plaintiff’s
  22   consumer report for a permissible purpose at face value. The Complaint specifically
  23   alleges that Experian did not conduct any investigation into Lend Tech’s purported
  24   purpose. (Compl. ¶¶ 29, 30, 52.) Experian’s argument that Lend Tech’s certification
  25   gave it a reason to believe it would use the consumer report for a permissible
  26   purpose thus misses the point: Experian had an independent duty to verify and the
  27   allegations plausibly suggest that Experian fell short of that duty. Experian was not
  28   allowed to, without more, simply accept Lend Tech’s certification that a permissible
       PROPOSED STATEMENT OF DECISION         -5-
       RE: MOTION TO DISMISS
Case 8:19-cv-01257-JFW-PJW Document 39-1 Filed 09/04/19 Page 7 of 11 Page ID #:292




   1   purpose existed, Instead, the FCRA required Experian to first conduct an adequate
   2   investigation to ensure no reasonable grounds existed for suspecting impermissible
   3   uses. Abbink alleges that Experian failed to do this. Discovery will show whether the
   4   allegations can be proven correct. At this point, Plaintiff has plausibly stated a claim
   5   for a violation of Section 1681b and the Motion is denied on these grounds.
   6                2.     Plaintiff alleged sufficient facts to plausibly suggest that
   7                       Experian violated Section 1681e.
   8         As indicated above, section 1681e(a) states that, “a subscriber’s certification
   9   cannot absolve the reporting agency of its independent obligation to verify the
  10   certification and determine that no reasonable grounds exist for suspecting
  11   impermissible use.” Id. Prior to furnishing a consumer report, the FCRA requires
  12   CRAs to establish and “maintain reasonable procedures designed to . . . limit the
  13   furnishing of consumer reports to the purposes listed under section 1681b.” Id.
  14   Prospective users must “identify themselves, certify the purposes for which the
  15   information is sought, and certify that the information will be used for no other
  16   purpose.” Id. A CRA must “make a reasonable effort to verify the identity of a new
  17   prospective user and the uses certified by such prospective user prior to furnishing
  18   such user a consumer report.” Id. Further, a CRA may not “furnish a consumer
  19   report to any person if it has reasonable grounds for believing that the consumer
  20   report will not be used for a purpose listed in section 1681b.” Id.
  21         A business that lacks a proper license to engage in its purposed business
  22   should prompt a CRA to conduct further investigation. See, e.g., Aleksic v. Experian
  23   Information Solutions, Inc., No. 13 C 7802, 2014 WL 2769122, at *2 (N.D. Ill. June
  24   18, 2014). Likewise, whereas a business that requests reports for a purpose in line
  25   with its actual business purpose is suggestive of a permissible purpose, see Wilson v.
  26   Sessoms, Civil No. 4:96CV01031, 1998 WL 35305548, at *4 (M.D.N.C. Mar. 16,
  27   1998); see also Harris v. Database Management & Marketing, Inc., 609 F.Supp.2d
  28   509, 515 (D. Md. 2009), the opposite is true where the requestor doesn’t engage in
       PROPOSED STATEMENT OF DECISION        -6-
       RE: MOTION TO DISMISS
Case 8:19-cv-01257-JFW-PJW Document 39-1 Filed 09/04/19 Page 8 of 11 Page ID #:293




   1   such commerce.
   2         The allegations in the Complaint plausibly demonstrate that Experian’s
   3   procedures are unreasonable. Plaintiff alleges that Experian failed to perform an
   4   adequate investigation and merely accepted Lend Tech’s certification at face value.
   5   (Compl. ¶¶ 29, 30.) Additionally, Lend Tech lacks a license to conduct mortgage
   6   lending in the State of California. (Id. ¶ 53.) The Complaint also alleges that Lend
   7   Tech does not offer consumers any form of credit or insurance at all. (Id. ¶ 28.)
   8   Additionally, Experian accepted Lend Tech’s incorrect address and a nonworking
   9   telephone number. In short, these allegations exhibit a plausible failure on the part of
  10   Experian to adequately investigate Lend Tech’s identity and purpose in violation of
  11   the Act. For these reasons, the Court finds that Plaintiff has plausibly stated a claim
  12   for a violation of Section 1681e.
  13                3.     Plaintiff plausibly alleges that Experian’s violations of
  14                       Sections 1681b and 1681e(a) were willful.
  15         Experian additionally argues that even if it violated Sections 1681b and/or
  16   Section 1681e(a), it did not do so willfully. It would be premature to accept
  17   Experian’s claim here.
  18         The Supreme Court has explained that a “reckless disregard of a requirement
  19   of FCRA would qualify as a willful violation.” Safeco Ins. Co. of America v. Burr,
  20   551 U.S. 47, 71 (2007). A company acts in reckless disregard if it takes an action or
  21   interprets a statute in a manner that is both “objectively unreasonable” and “ran a
  22   risk of violating the law substantially greater than the risk associated with a reading
  23   that was merely careless.” Id. at 69. At the motion to dismiss stage, “courts have
  24   found assertions that a defendant repeatedly violated the FCRA sufficient to allege
  25   reckless—and, therefore, willful—misconduct.” Singleton v. Domino’s Pizza, LLC,
  26   Civil Action No. DKC 11-1823, 2012 WL 245965, at *4 (D. Md. Jan. 25, 2012)
  27   (collecting cases). Further, allegations that a defendant was aware of the FCRA’s
  28   requirements but failed to comply with its requirements are also sufficient to state a
       PROPOSED STATEMENT OF DECISION        -7-
       RE: MOTION TO DISMISS
Case 8:19-cv-01257-JFW-PJW Document 39-1 Filed 09/04/19 Page 9 of 11 Page ID #:294




   1   claim. See id.; see also Robrinzine v. Big Lots Stores, Inc., 156 F.Supp.3d 920, 929-
   2   30 (N.D. Ill. 2016).
   3         Plaintiff alleges that Experian is a large corporation that regularly engaged
   4   counsel in matters such as FCRA compliance. (Compl. ¶ 59.) Further, a substantial
   5   portion of Experian’s income comes from selling the consumers data to its clients.
   6   (Id. ¶ 5.) Plaintiff argues that Experian cannot seriously dispute that it was aware of
   7   its duties under the FCRA as one of the largest CRAs, and that Experian’s failure to
   8   adequately investigate Lend Tech beyond its certification supports a reasonable
   9   inference that Experian acted in reckless disregard for its statutory duties. The Court
  10   agrees. By selling Plaintiff’s consumer report to Lend Tech absent adequate
  11   verification procedures to ensure that a permissible purpose existed, Experian
  12   plausibly acted in reckless disregard for its FCRA duties.
  13         B.     Plaintiff has also plausibly stated a claim for a willful violation of
  14                Section 1681b(c)(2).
  15         Experian also argues that its disclosure of Plaintiff’s total federal student loan
  16   debt does not run afoul of Section 1681b(c)(2) because Abbink does not have a
  17   direct credit relationship with the Dept. of Education. (Def. Mot. at 12-13.) Experian
  18   further argues that any violation wasn’t willful. (Def. Mot. at 13-14.) Plaintiff
  19   counters by arguing that Section 1681b(c)(2) does not require the disclosure to
  20   identify Plaintiff’s relationship with a direct creditor and that Experian’s reading of
  21   the Act is objectively unreasonable. (Pl. Mot. at 14-19.)
  22                1.     Plaintiff alleges a violation of Section 1681b(c)(2).
  23         Section 1681b(c)(2) limits what information can be furnished to a customer in
  24   the context of a prescreened list to only the following information: “(A) the name
  25   and address of a consumer; (B) an identifier that is not unique to the consumer and
  26   that is used by the person solely for the purpose of verifying the identity of the
  27   consumer; and (C) other information pertaining to a consumer that does not identify
  28   the relationship or experience of the consumer with respect to a particular creditor
       PROPOSED STATEMENT OF DECISION        -8-
       RE: MOTION TO DISMISS
Case 8:19-cv-01257-JFW-PJW Document 39-1 Filed 09/04/19 Page 10 of 11 Page ID
                                  #:295



 1   or other entity.” 15 U.S.C. § 1681b(c)(2) (emphasis added).
 2          Borrowers have a relationship with the Dept. of Education. First, the Dept. of
 3   Education is the exclusive administrator of all debt repayment and debt forgiveness
 4   plans available to student loan borrowers. See Federal Trade Commission v. Alliance
 5   Document Preparation, 296 F.Supp.3d 1197, 1204 (C.D. Cal. 2017). Further, the
 6   Dept. of Education guarantees all federal student loan debt. See Pennsylvania v.
 7   Navient Corporation, 354 F.Supp.3d 529, 535 (M.D. Pa. 2018). Abbink pleads that
 8   Experian’s disclosure of his total federal student loan debt directly identifies his
 9   relationship with the Dept. of Education. The Court agrees. Plaintiff’s allegations
10   demonstrate that Lend Tech now has knowledge of: (1) who ultimately guarantees
11   Plaintiff’s debt (the Dept. of Education); (2) that Plaintiff must repay his student
12   loans based upon the repayment plans that the Dept. of Education offers to
13   borrowers; and (3) the potential debt relief plans that are available to Plaintiff.
14   Further, the allegations demonstrate that UDS utilized this exact information to
15   target Plaintiff. As such, the Court concludes that Plaintiff has sufficiently stated a
16   claim for a violation of Section 1681b(c)(2).
17                 2.     Plaintiff plausibly states a claim for a willful violation of
18                        Section 1681b(c)(2).
19          In its Motion, Experian also argues that insofar as it violated Section
20   1681b(c)(2), it did not do so willfully because its reading of the statute was not
21   objectively unreasonable. Experian relies exclusively on the absence of case law and
22   regulatory guidance.
23          Again, a defendant that acts with reckless disregard for its statutory
24   obligations under the FCRA qualifies as a willful violation. Safeco Ins. Co. of
25   America v. Burr, 551 U.S. 47, 71 (2007). A reckless disregard occurs when a
26   company takes a reading of the Act that is both unreasonable and “ran a risk of
27   violating the law substantially greater than the risk associated with a reading that was
28   merely careless.” Id. at 69. Critically, “[a] lack of ‘guidance,’ . . . does not itself
     PROPOSED STATEMENT OF DECISION          -9-
     RE: MOTION TO DISMISS
Case 8:19-cv-01257-JFW-PJW Document 39-1 Filed 09/04/19 Page 11 of 11 Page ID
                                  #:296



 1   render [defendant’s] interpretation reasonable.” Syed v. M-I, LLC, 853 F.3d 492 (9th
 2   Cir. 2017). Indeed, a “credit agency whose conduct is first examined under that
 3   section of the Act should not receive a pass because the issue has never been
 4   decided.” Cortez v. Trans Union, LLC, 617 F.3d 688, 722 (3d Cir. 2010). At the
 5   motion to dismiss stage, “assertions that a defendant was aware of the FCRA, but
 6   failed to comply with its requirements, are sufficient to support an allegation of
 7   willfulness and to avoid dismissal.” Singleton, Civil Action No. DKC 11-1823, 2012
 8   WL 245965, at *4 (D. Md. Jan. 25, 2012) (collecting cases). And again, “[w]hether
 9   Defendant’s conduct was actually willful is a question better left to a motion for
10   summary judgment, where the record will be more fully developed.” Feist v. Petco
11   Animal Supplies, Inc., 218 F.Supp.3d 1112, 1115 (S.D. Cal. 2016).
12         Applied here, Plaintiff sufficiently pleads that Experian’s reading of the statute
13   was unreasonable and that it acted in reckless disregard of its duties under the Act.
14   Plaintiff specifically pleads that Experian is a large consumer reporting agency that
15   is aware of its duties under the Act. (Compl. ¶¶ 5, 59, 68.) Further, Experian’s
16   disclosure identified Plaintiff’s relationship to the Dept. of Education. Moreover,
17   given that Experian has repeatedly provided Lend Tech with consumers’ federal
18   student loan totals, the impact of the disclosure was widespread. Conversely,
19   Experian’s argument that this reading of the statute would eviscerate prescreens in
20   the context of student loans borders on hyperbole. As Plaintiff points out, Experian
21   could disclose both federal and private student loans and simply provide a combined
22   total, which would not have the same impact on consumers. Therefore, the Court
23   finds that the Complaint states a claim for a willful violation of Section 1681b(c)(2).
24   V.    Conclusion
25         For the foregoing reasons, the Court DENIES Experian’s Motion to Dismiss.
26
27
                                            Hon. John F. Walter
28                                          U.S. Dist. Court Judge
     PROPOSED STATEMENT OF DECISION       - 10 -
     RE: MOTION TO DISMISS
